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 5                                  UNITED STATES DISTRICT COURT

 6                                         DISTRICT OF NEVADA

 7 UNITED STATES OF AMERICA,                           )
                                                       )
 8                          Plaintiff,                 )
                                                       )
 9           v.                                        ) 2:12-CR-453-APG-(GWF)
                                                       )
10 REBEKAH FOUQUET,                                    )
                                                       )
11                          Defendant.                 )
                                                       )
12

13                       AMENDED PRELIMINARY ORDER OF FORFEITURE

14            This Court finds that on June 11, 2013, defendant REBEKAH FOUQUET pled guilty to

15 Count One of a Ten-Count Indictment charging her with Conspiracy to Distribute Controlled

16 Substances in violation of Title 21, United States Code, Sections 841(a)(1) and 846. Indictment, ECF

17 No. 1; Bill of Particulars, ECF No. 74; Change of Plea Minutes, ECF No. 82; Plea Agreement, ECF

18 No. 83.

19            This Court finds defendant REBEKAH FOUQUET agreed to the forfeiture of the property set

20 forth in the Bill of Particulars and the Forfeiture Allegations of the Indictment. Indictment, ECF No. 1;

21 Bill of Particulars, ECF No. 74; Change of Plea Minutes, ECF No. 82; Plea Agreement, ECF No. 83.

22            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

23 has shown the requisite nexus between property set forth in the Bill of Particulars and the Forfeiture

24 Allegations of the Indictment and the offense to which defendant REBEKAH FOUQUET pled guilty.

25 Indictment, ECF No. 1; Bill of Particulars, ECF No. 74; Change of Plea Minutes, ECF No. 82; Plea

26 Agreement, ECF No. 83.
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 1           The following assets are subject to forfeiture pursuant to Title 21, United States Code, Section

 2 853(a)(1), (a)(2), and (p):

 3                  1. $18,290.00 in United States Currency;

 4                  2. real property and improvements situated at 6399 Briney Deep Avenue, Las Vegas,

 5                      NV 89139, more particularly described as Lot 48 in block 1 of Pinnacle II as

 6                      Pinnacle Peaks, as shown by map thereof on file in Book 106, of Plats Page 93 in

 7                      the office of the County Recorder of Clark County, Nevada APN: 176-11-613-048;

 8                  3. $2,422.00 in United States Currency;

 9                  4. Gents stainless steel Rolex Oyster Perpetual Datejust wristwatch and band, black

10                      diamond dial, diamond bezel (aftermarket), 37mm case, model #1162234, serial

11                      #Z586603, Movement #3 1504912, 122.3 grams; and

12                  5. Mid-size stainless steel Rolex Oyster Perpetual Datejust wristwatch and band,

13                      aftermarket diamond bezel, silver dial, luminous stick markers, date window,

14                      31.5mm case, movement #186547, model #178274, serial #D899431, 89.4 grams

15                      (“property”).

16           This Court finds the United States of America is now entitled to, and should, reduce the

17 aforementioned property to the possession of the United States of America.

18           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

19 United States of America should seize the aforementioned property.

20           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

21 REBEKAH FOUQUET in the aforementioned property is forfeited and is vested in the United States

22 of America and shall be safely held by the United States of America until further order of the Court.

23          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

24 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

25 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the

26 time under the applicable statute when a petition contesting the forfeiture must be filed, and state the

                                                         2
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 1 name and contact information for the government attorney to be served with the petition, pursuant to

 2 Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

 3          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

 4 with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

 5          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

 6 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

 7 following address at the time of filing:

 8                 DANIEL D. HOLLINGSWORTH
                   Assistant United States Attorney
 9                 Lloyd D. George United States Courthouse
                   333 Las Vegas Boulevard South, Suite 5000
10                 Las Vegas, Nevada 89101.
11          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

12 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
13 following publication of notice of seizure and intent to administratively forfeit the above-described

14 property.

15                     26 day of September, 2013.
            DATED this ___

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                                                 UNITED STATES DISTRICT JUDGE
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